Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 1 of 35 Page ID
                                #:16100
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 2 of 35 Page ID
                                #:16101
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 3 of 35 Page ID
                                #:16102
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 4 of 35 Page ID
                                #:16103
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 5 of 35 Page ID
                                #:16104
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 6 of 35 Page ID
                                #:16105
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 7 of 35 Page ID
                                #:16106
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 8 of 35 Page ID
                                #:16107
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 9 of 35 Page ID
                                #:16108
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 10 of 35 Page ID
                                #:16109
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 11 of 35 Page ID
                                #:16110
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 12 of 35 Page ID
                                #:16111
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 13 of 35 Page ID
                                #:16112
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 14 of 35 Page ID
                                #:16113
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 15 of 35 Page ID
                                #:16114
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 16 of 35 Page ID
                                #:16115
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 17 of 35 Page ID
                                #:16116
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 18 of 35 Page ID
                                #:16117
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 19 of 35 Page ID
                                #:16118
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 20 of 35 Page ID
                                #:16119
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 21 of 35 Page ID
                                #:16120
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 22 of 35 Page ID
                                #:16121
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 23 of 35 Page ID
                                #:16122
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 24 of 35 Page ID
                                #:16123
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 25 of 35 Page ID
                                #:16124
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 26 of 35 Page ID
                                #:16125
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 27 of 35 Page ID
                                #:16126
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 28 of 35 Page ID
                                #:16127
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 29 of 35 Page ID
                                #:16128
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 30 of 35 Page ID
                                #:16129
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 31 of 35 Page ID
                                #:16130
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 32 of 35 Page ID
                                #:16131
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 33 of 35 Page ID
                                #:16132
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 34 of 35 Page ID
                                #:16133
Case 2:16-cv-04166-CAS-AGR Document 230 Filed 05/11/20 Page 35 of 35 Page ID
                                #:16134
